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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


CASE NO. 13-cr-00245-WJM

UNITED STATES OF AMERICA,

                Plaintiff,

v.

PEDRO MORALES,

                Defendant.

______________________________________________________________________

               DEFENDANT’S REVOCATION MEMORANDUM
______________________________________________________________________

       The defendant, Pedro Morales, files this memorandum in connection with his

upcoming supervised release violation hearing. The hearing is scheduled for November

21, 2014 at 10:30 a.m.

       Mr. Morales’ position on the alleged violations

       Mr. Morales will admit the violations alleged in the petitions. Doc. 33, 40. 1 In

summary, these are:

       1. That he used methamphetamine on or about September 5, 2014. 2


       1
           “Doc.” refers to the clerk’s docket.
       2
        The first allegation in the petition cites certain “facts” in support of the positive
drug test on September 5, 2014, some of which – those listed in the first paragraph –
have nothing to do with the drug test on September 5, 2014. The first paragraph talks
about a positive drug test in February of 2014. The petition containing that allegation
(Doc. 18) was not pursued and no admission was entered. Instead, there was a
modification to the halfway house for four months. Doc. 32.

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       2. That he did not admit to this use.

       3. That he said he missed work because he was sick when he really missed work

due to family issues.

       4. That he was terminated from treatment at Independence House because of

using methamphetamine on or about September 5, 2014.3 (See allegations 1 and 2

above).

       5. That he used cocaine on or about Septem ber 24, 2015.

       6. That he hasn’t finished paying the fine levied by the sentencing judge in

Michigan in 2006. 4

       Mr. Morales’ position on sentencing

       The advisory, or double advisory, Guidelines imprisonment range for the alleged

violations (all Grade C) is 5 to 11 months. The Court has other options besides

imprisoning Mr. Morales – again as advised in Chapter 7 of the Guidelines. Generally

these include terminating supervision, continuing supervision with or without modified

conditions, or imprisoning Mr. Morales for less time than suggested by the Guidelines

with or without supervision to follow.

       Mr. Morales disagrees with the recommendation of the probation officer: That he

be put in prison for 10 months – just one month shy of the maximum advisory term,

followed by three years of supervision.



       3
           Described in the petition as “continued use of illicit drugs.” Doc. 33, p.2, item #4.
       4
       Mr. Morales has, over the course of supervision, nearly 4 of the 5 years
imposed, paid $2,012.86 toward the $3,000.00 fine. He also paid his special
assessment. Doc. 44. p. 10.

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       As the Violation Report indicates, the probation of ficer recommends the

supervision period be conditioned on Mr. Morales “complete a residential treatment

program for co-occurring disorders as deemed appropriate by the probation officer.”

Both in terms of the allegations (excepting the unpaid fine balance), and certain

observations in the Report, having Mr. Morales participate in a more structured program

focuses on the core issue that brings him before the Court: addiction. 5

       Mr. Morales is open to the idea of participating in residential treatment as

recommended by the probation officer. That said, it makes little sense to imprison him

for nearly the maximum recommended term, then have him start some form of

residential treatment. Not only does this delay Mr. Morales’ return to the community –

where he can work to support his wife and children – it delays the beginnings of any

such treatment.

       It is important, too, in analyzing what sentence is most appropriate for the

violations alleged to bear in mind that while on supervision Mr. Morales successfully

completed three separate terms of placement in a halfway house. The first followed his

release from prison. The second and third were based on modifications to which Mr.

Morales consented: one from July 2013 to January 2014; the other from April 2014 to

August 2014. Doc. 44, R-2. As the probation of ficer observed, “The defendant appears

to do well in [these] structured settings.” Id.




       5
         See Doc. 44, Violation Report: “The 34 year old defendant is before the Court
after being either unwilling or unable to control his use of illicit drugs...” P. R-2. “On
March 1, 2013, the defendant . . . was diagnosed with methamphetamine intoxication.”
He was placed on psychiatric hold. P. 6

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       The instant petition alleges two “hot” tests. Both in September. Both after Mr.

Morales was released from the halfway house. Before that, the last positive test counsel

can identify from the records available to him was in February of 2014. See Doc.44, p.

7; Doc. 18. That test was the subject of an earlier petition that did not proceed to

hearing. Doc. 32. See n. 1, supra.

       Considering these facts in the light most unflattering to Mr. Morales, this is three

positive tests for drug use in the span of seven months. A span that included four

months in the halfway house and employment. Doc. 44, pp. 8, R-2. This for a man

whose use of hard drugs goes back least 16 years, to age 18. Doc. 17, presentence

report, ¶ 63.

       Mr. Morales will have been in jail on the instant petition for about seven weeks by

the time of his revocation hearing. This is his first violation hearing – again, the two

previous petitions (also for drug use) were dealt with through modifications. If we were

in a “drug court” he would probably have been imprisoned for at most a few days before

being returned to treatment, perhaps with added conditions, an approach that f ollows

the principle of graduated sanctions for lapses – of imposing “less punitive responses .

. . for less serious non compliance.” See attachment A, NIDA Principles for Drug Abuse

Treatment for Criminal Justice Populations, p. 21.

       Specific request

       Mr. Morales asks the Court – on finding he has violated supervised release – to

sentence him to time served and return him to supervision. He asks that the supervision

include up to six months in a halfway house, as well as the other conditions already in

existence, including drug/mental health treatment. If arrangements can be finalized for

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Mr. Morales to enter a residential treatment program, the halfway house placement can

be terminated to allow him to do so.6

      This approach recognizes that "[b]ecause addiction is a chronic disease, drug

relapse and return to treatment are common features of an individual's path to

recovery." See attachment A, NIDA Principles for Drug Abuse Treatment for Criminal

Justice Populations, FAQ # 8. It also balances the concerns outlined in 18 U.S.C. §

3583(e). More importantly, it addresses in a reasoned way the core issues that bring Mr.

Morales to court.

                                        Respectfully submitted,

                                        VIRGINIA L. GRADY
                                        Federal Public Defender



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                                        Rick_williamson@fd.org
                                        Attorney for Defendant




      6
         Counsel has spoken with the probation officer about the Circle Program, which
operates under the auspices of the Colorado Department of Human Services. Another
possibility is the STIRRT (Short Term Residential Remediation Treatment) Program, run
by Arapahoe House. See attachment B. Recently, a federal “probationer” with long
term methamphetamine addiction issues was allowed to continue in STIRRT following
revocation proceedings.

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                               CERTIFICATE OF SERVICE


         I hereby certify that on November 12, 2014, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the following e-mail addresses:

       Martha Paluch, Assistant U.S. Attorney
       Email: Martha.paluch@usdoj.gov



and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participants in the manner (mail, hand-delivery, etc.) indicated by the non-
participant’s name:

       Anna Lokshina, U.S. Probation Officer
       Email: anna.lokshina@cod.uscourts.gov

       Mr. Pedro Morales
       (via U.S. Mail)




                                          s/ Warren R. Williamson
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